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 1                                 UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                             )
 4                                                         )
 5
                            Plaintiff,                     )        Case No.: 2:16-cr-265-GMN-CWH
            vs.                                            )
 6                                                         )                       ORDER
     JEREMY JOHN HALGAT,                                   )
 7                                                         )
                            Defendant.                     )
 8
                                                           )
 9

10          Pending before the Court is Defendant Jeremy John Halgat’s (“Defendant’s”) Motion to
11   Substitute Attorney (ECF No. 143), which is fully briefed.1 Also pending before the Court is
12   Defendant’s Motion to Continue (ECF No. 235) the hearing set before this Court on Thursday,
13   June 29, 2017, on the Government’s Motion to Revoke the Magistrate Judge’s Release Order
14   (ECF No. 141).
15          On June 14, 2017, a federal grand jury sitting in the District of Nevada returned a
16   Superseding Indictment charging Defendant with three counts: Count One, Conspiracy to
17   Participate in a Racketeering Enterprise, 18 USC § 1962(d); Count Eleven, Conspiracy to
18   Possess with Intent to Deliver a Controlled Substance, 21 USC §§ 846, 841(a)(1) and
19   841(b)(1)(A); and Count Twelve, Using and Carrying a Firearm, 18 USC § 924(c)(1)(A)(i).
20   (ECF No. 13).
21          On June 16, 2017, Criminal Justice Act (“CJA”) Panel Attorney Chris Arabia (“Arabia”)
22   was appointed to represent Defendant. (ECF No. 93). In the pending Motion to Substitute,
23   Defendant seeks to substitute attorney Melanie Hill (“Hill”) instead of Arabia because Hill has
24

25   1
      Defendant also filed a Motion to Expedite his Motion to Substitute Attorney. (ECF No. 171). For good cause
     appearing, the Court grants Defendant’s Motion to Expedite.


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 1   represented Defendant since 2013 in two other cases (2:13-cr-00239-JAD-PAL, before Judge
 2   Dorsey, and 2:13-cr-00241-APG-VCF, before Judge Gordon) that “include the allegations
 3   asserted in the instant case.” (Mot. Substitute Att’y 2:5–6, 3:8–10, ECF No. 143). Although
 4   Hill was appointed through the CJA to represent Defendant in his 2013 cases, she is no longer a
 5   member of the CJA Panel. Additionally, the Government’s Motion to Revoke the Magistrate
 6   Judge’s Release Order makes several allegations regarding Hill’s participation in the instant
 7   case and the surrounding facts, indicating that she may be called as a percipient witness. (Gov’t
 8   Mot. Revoke Release Order 9:2–10:21, ECF No. 141). As such, the Court finds that it is not in
 9   the interest of justice to substitute Hill for Arabia and denies Defendant’s Motion to Substitute.
10          Next, Defendant seeks to continue the June 29, 2017 hearing because the Motion to
11   Substitute Attorney is pending. (Def. Mot. Cont. Hr’g, ECF No. 235). As this Order resolves
12   the Motion to Substitute Attorney, there is no cause to continue the hearing. Therefore,
13   Defendant’s Motion to Continue is denied as moot, and the hearing will take place on June 29,
14   2017, at 9:00 a.m. in Courtroom 7C in Las Vegas, as previously ordered (see ECF No. 145).
15          Accordingly,
16          IT IS HEREBY ORDERED that Defendant’s Motion to Substitute Attorney (ECF No.
17   143) is DENIED.
18          IT IS FURTHER ORDERED that Defendant’s Motion to Expedite (ECF No. 171) is
19   GRANTED.
20          IT IS FURTHER ORDERED that Defendant’s Motion to Continue (ECF No. 235) is
21   DENIED.
22          DATED this _____
                         27 day of June, 2017.

23

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                                                   ___________________________________
25                                                 Gloria M. Navarro, Chief Judge
                                                   United States District Court


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